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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


  HOWARD COHAN,

                     Plaintiff,

  v.                                                 Case No. 6:24-cv-251-CEM-RMN

  OERTHER FOODS SECOND
  GENERATION, INC.,

                     Defendant.
                                        /

                                        ORDER
        THIS CAUSE is before the Court on the Mediation Report (Doc. 28), which

  advises the Court that the above-styled action has been settled.

        Accordingly, it is ORDERED and ADJUDGED that this cause is

  DISMISSED with prejudice subject to the right of any party, within sixty days

  from the date of this Order, upon good cause, to move the Court to re-open the case

  in accordance with Local Rule 3.09(b).

        DONE and ORDERED in Orlando, Florida on August 13, 2024.




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  Copies furnished to:

  Counsel of Record




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